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     Federal Defender
 2   VICTOR M. CHAVEZ, Bar #113752
     Assistant Federal Defender
 3   Designated Counsel for Service
     2300 Tulare Street, Suite 330
 4   Fresno, California 93721-2226
     Telephone: (559) 487-5561
 5
     Attorney for Defendant
 6   SONIA AMEZCUA
 7
 8                                  IN THE UNITED STATES DISTRICT COURT
 9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                       )   NO. 1:08-cr-00067 LJO
                                                     )
12                          Plaintiff,               )   STIPULATION TO CONTINUE MOTIONS
                                                     )   SCHEDULE AND HEARING DATE; ORDER
13          v.                                       )   THEREON
                                                     )
14   SONIA AMEZCUA,                                  )   Date: October 3, 2008
                                                     )   Time: 9:00 A.M.
15                          Defendant.               )   Judge: Hon. Lawrence J. O’Neill
                                                     )
16                                                   )
17
18          IT IS HEREBY STIPULATED by and between the parties hereto through their respective
19   counsel, that a new motions schedule be set as follows: motions in the above-captioned matter now due
20   August 22, 2008, shall be filed on or before September 5, 2008, responses shall be filed on or before
21   September 26, 2008, and the motions hearing now set for September 19, 2008, may be continued to
22   October 3, 2008, at 9:00 A.M.
23          This continuance is requested by counsel for Defendant to allow him additional time for defense
24   preparation and investigation, to allow him time to review discovery and prepare any motions to be filed,
25   and to allow the parties additional time for negotiation. The requested continuance will conserve time and
26   resources for all parties and the court.
27   ///
28   ///
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 1            The parties agree that the delay resulting from the continuance shall be excluded in the interests of
 2   justice, including but not limited to, the need for the period of time set forth herein in the interest of justice
 3   and for effective defense preparation pursuant to 18 U.S.C. §§ 3161(h)(1)(F), 3161(h)(8)(A) and
 4   3161(h)(8)(B)(i) and (iv).
 5                                                                    McGREGOR W. SCOTT
                                                                      United States Attorney
 6
 7   DATED: August 20, 2008                                       By: /s/ Karen Escobar
                                                                      KAREN ESCOBAR
 8                                                                    Assistant United States Attorney
                                                                      Attorney for Plaintiff
 9
10                                                                    DANIEL J. BRODERICK
                                                                      Federal Public Defender
11
12   DATED: August 20, 2008                                       By: /s/ Victor M. Chavez
                                                                      VICTOR M. CHAVEZ
13                                                                    Assistant Federal Defender
                                                                      Attorneys for Defendant
14                                                                    SONIA AMEZCUA
15
16
17                                                     ORDER
18             Time is hereby excluded pursuant to 18 U.S.C. §§ 3161(h)(1)(F), 3161(h)(8)(A) and
19   3161(h)(8)(B)(i) and (iv).
20
     IT IS SO ORDERED.
21
     Dated:      August 20, 2008                        /s/ Lawrence J. O'Neill
22   b9ed48                                         UNITED STATES DISTRICT JUDGE
23
24
25
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     Stipulation to Continue Motions Schedule
     and Hearing Date;[Proposed] Order Thereon              -2-
